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5    Attorneys for Defendant
     JOSE MANUEL URIBE SOLIS
6
7                                            UNITED STATES DISTRICT COURT
8                                           EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                            No. 1:00-CR-5441-AWI
11                             Plaintiff,                 AMENDED STIPULATED MOTION AND
                                                          ORDER TO REDUCE SENTENCE
12             v.                                         PURSUANT TO 18 U.S.C. § 3582(c)(2)
13   JOSE MANUEL URIBE SOLIS,                             RETROACTIVE DRUGS-MINUS-TWO
                                                          REDUCTION CASE
14                             Defendant.
                                                          Hon. Anthony W. Ishii
15
16             Defendant, JOSE MANUEL URIBE SOLIS by and through his attorney, John Balazs,
17   and plaintiff, UNITED STATES OF AMERICA, by and through its counsel, Assistant U.S.
18   Attorney Dawrence W. Rice, Jr., hereby stipulate as follows:
19             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

20   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

21   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

22   pursuant to 28 U.S.C. § 994(o);

23             2.         On May 3, 2002, this Court sentenced Mr. Solis to a term of 292 months

24   imprisonment on Count 1, and the remaining counts against him were dismissed;

25             3.         The district court determined his total offense level to be 38, his criminal history

26   category was III, and the resulting guideline range was 292-365 months; the Court followed the

27   government’s recommendation that Mr. Solis be sentenced to the bottom of the guideline range,

28   or 292 months;

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Solis was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Solis’s total offense level has been reduced from 38 to 36, and his amended
5    guideline range is 235 to 293 months; and, with the same bottom of guideline range, the sentence
6    would be reduced to 235 months;
7              6.         As part of this agreement, Mr. Solis has moved to voluntarily withdraw his appeal
8    in United States v. Solis, No. 14-15234;
9              7.         Accordingly, the parties request the Court enter the order lodged herewith
10   reducing Mr. Solis’s term of imprisonment to a term of 235 months.
11   Respectfully submitted,
12   Dated: February 6, 2015                            Dated: February 6, 2015
13   BENJAMIN B. WAGNER
     United States Attorney
14
15   /s/ Dawrence W. Rice, Jr.                           /s/John Balazs
     DAWRENCE W. RICE, JR.                              JOHN BALAZS
16   Assistant U.S. Attorney
17   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JOSE MANUEL URIBE SOLIS
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                   ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that defendant Jose Manuel Uribe Solis is entitled
5    to the benefit of Amendment 782, which reduces the total offense level from 38 to 36, resulting
6    in an amended guideline range of 235 to 293 months, and a corresponding reduction in sentence
7    from 292 to 235 months.
8              IT IS HEREBY ORDERED that the term of imprisonment imposed in May 2002 is
9    reduced to a term of 235 months.
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             If not deported and unless otherwise ordered, Mr. Solis shall report to the United States
15   Probation Office within seventy-two hours after his release.
16
     IT IS SO ORDERED.
17
     Dated:       February 6, 2015
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                                                    SENIOR DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction       3
